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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable David F. Levi
Chief United States District Judge
Sacramento, California

                                           RE:    Nicholas A. STANLEY
                                                  Docket Number: 2:05CR00033-05
                                                  REQUEST TO RELEASE INFORMATION
Your Honor:

On June 8, 2006, Mr. Stanley was sentenced subsequent to his guilty plea to a violation
of 21 USC 844(a) - Possession of a Controlled Substance, a Class A misdemeanor. He
was placed on two years probation, ordered to pay a $1,000 fine and a $25.00 special
assessment. Special conditions include: Warrantless search, access to financial
information, participate in correctional treatment, drug testing, mental health treatment, and
a co-payment plan. I have supervised him since he was placed on probation.

On September 29, 2006, Patrick Peralta of the Family Court Services, Superior Court of
California, County of Sacramento, telephoned and requested information regarding Mr.
Stanley. Mr. Stanley and his former girlfriend, Jennifer Wedel, have an open case in
Sacramento County (06FL05969) regarding the custody of their minor daughter. Ms.
Wedel left the state several months ago and is apparently now seeking to reunite with her
daughter. Mr. Peralta has requested information regarding Mr. Stanley's federal offense,
probation requirements, drug testing results, and a probation officer's progress report. He
indicates this information is for the Superior Court Judge who will determine which parent
is best suited for custody of this minor child. Mr. Stanley does not oppose the County's
request. It is my intention to author a brief progress report answering all of his questions,
including the fact that Mr. Stanley is drug tested, has provided no positive drug samples,
and that he has been placed in mental health counseling.

The Court's permission is respectfully requested in order to release the mental health and
drug treatment records. It does not appear that these records can be obtained from
anyone but our agency and the federal contractors. At this point, however, it appears that

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a letter from me is adequate. If in the future should the mediator request more information,
he can seek it, in limited form, from the federal aftercare contractors themselves.

                                 Respectfully submitted,


                                 /s/Lori L. Koehnen
                                 LORI L. KOEHNEN
                        Senior United States Probation Officer

Dated:        October 3, 2006
              Sacramento, California
              LLK/cp


REVIEWED BY:         /s/Kyriacos M. Simonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer


_________________________________________________


__X__         Release the information requested by Sacramento County Superior Court,
              Family Court Services Division.

____ Do not release the requested information.


____ U.S. Probation Officer is requested to contact the Court.

Dated: 10/6/2006




                                                 DAVID F. LEVI
                                                 Chief United States District Judge

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